2019CR225 - Case
            Larimer1:19-cr-00098-CMA
                    County                          https://www.jbits.courts.state.co.us/pas/pubaccess/user/govdata/printdet...
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                                                                                     Date Printed: 03/14/2019

          People Of The State Of Colorado Vs. Luton, Leonard L - 2019CR225 - Larimer County


           Summary


           Case #: 2019CR225 (District)       Location: Larimer County           Date Filed: 2019-01-23
           Case Status: Closed;               Date Case Closed: 2019-03-14 Date of Speedy Trial: N/A
           Case Type: Theft                   Appealed: N                        E-Filed: N
           Judge or Magistrate: Gregory       Division: 5B                       Bar Number: 26139
           M Lammons
           Related Cases: N/A


           Participants


           Party Type: Defendant              Person Status: Not Applicable
           Name: Luton, Leonard L             Addresses & Phone Numbers Attorneys
           Birthdate: 1976-04-21              Active Address                     Attorney Role: Deputy Public
           Gender: M                          1307 Pacific St 60                 Defender
           Race: B                            Brooklynn NY 11216                 Attorney Name: Crowgey, Erin
           Drivers License: NY                                                   Patricia
           317696107 C                                                           Attorney Bar #: 43460
           StateID: 3608251                                                      Primary Attorney: No

                                                                                 Attorney Role: Alternate
                                                                                 Defense Counsel
                                                                                 Attorney Name: Schwartz,
                                                                                 Jeffrey Martin
                                                                                 Attorney Bar #: 34913
                                                                                 Primary Attorney: Yes



           Party Type: Impartial              Person Status: Active
           Name: Non-party,                   Addresses & Phone Numbers Attorneys
           Birthdate:
           Gender:
           Race:
           Drivers License:
           StateID:


           Party Type: The People of the      Person Status: Not Applicable
           State of CO
           Name: The People Of The State Addresses & Phone Numbers Attorneys
           Of Colorado,
           Birthdate:                                                            Attorney Role: Deputy District
           Gender:                                                               Attorney
           Race:                                                                 Attorney Name: Mangione,
           Drivers License:                                                      Michael
           StateID:                                                              Attorney Bar #: 45676
                                                                                 Primary Attorney: No

                                                                                 Attorney Role: Deputy District
                                                                                 Attorney



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                                                                                 Attorney Name: Starks,
                                                                                 William Everett
                                                                                 Attorney Bar #: 9973
                                                                                 Primary Attorney: No

                                                                                 Attorney Role: Deputy District
                                                                                 Attorney
                                                                                 Attorney Name: Duhon,
                                                                                 Amanda Jo
                                                                                 Attorney Bar #: 42468
                                                                                 Primary Attorney: No



           Party Type: Victim                 Person Status: Not Applicable
           Name: Olson, Sandra                Addresses & Phone Numbers Attorneys
           Birthdate: 1938-11-27
           Gender: F
           Race: H
           Drivers License:
           StateID:


           Party Type: Victim                 Person Status: Not Applicable
           Name: Olson, Sandra                Addresses & Phone Numbers Attorneys
           Birthdate: 1938-11-27              Active Address
           Gender: F                          450 Chapin Lane
           Race: O                            Estes Park CO 80517
           Drivers License:
           StateID:                           Home : (970) 6312554


           Party Type: Victim                 Person Status: Not Applicable
           Name: Olson, Mike                  Addresses & Phone Numbers Attorneys
           Birthdate:                         Active Address
           Gender: U                          Regarding Sandra Olson
           Race: O                            Visonconstructioninc@msn.com
           Drivers License:
           StateID:
                                              Cellular : (303) 5918633


           Charges / Dispositions
           Arresting Agency
           Arresting Agency: Estes Park Police Dept            Arrest Date:              Arrest Time:
                                                               2019-01-22
           Ticket/Summons Number:                              Arrest Number:            Case Number:
                                                               AXXXXXXXX                 18-1545
           Arrest Charges
           Charge Number: 1          Charge: Theft-$20,000-$100,000                      Status: Arrest Only
                                                                                         Charge
           Offense Date From:        Offense Date To:          Offense Time:
           2018-11-05                2018-11-05
           Class: F4 (Class 4        BAC: 0.000                Statute: 18-4-401(1),(2)(h)
           Felony)

           Charge Number: 2          Charge: At-risk-theft From The Person-csp           Status: Arrest Only
                                                                                         Charge




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           Offense Date From:        Offense Date To:           Offense Time:
           2018-11-05                2018-11-05
           Class: F4 (Class 4        BAC: 0.000                 Statute: 18-6.5-103(5);18-4-401(1),(5)
           Felony)

           Final Disposition on Charges
           Charge Number: 1          Charge: Theft-$1,000,000 Or More                     Status: Dismissed
           Offense Date From:        Offense Date To:           Offense Time:
           2018-02-20                2018-11-05
           Class: F2 (Class 2        BAC: 0.000                 Statute: 18-4-401(1),(2)(j)
           Felony)
           Disposition Date:         Disposition: Dismissed by DA
           2019-03-14

           Charge Number: 2          Charge: At-risk-theft-$500/more                      Status: Dismissed
           Offense Date From:        Offense Date To:           Offense Time:
           2018-02-20                2018-11-05
           Class: F3 (Class 3        BAC: 0.000                 Statute: 18-6.5-103(5);18-4-401(1)
           Felony)
           Disposition Date:         Disposition: Dismissed by DA
           2019-03-14


           Hearings/Trials
           Date          Time      Room      Type/Note                          Status         Judge/Bar
                                   #                                                           Number
           2019-03-14 09:00        5B        Status Conference                  Hearing Held Gregory M
                      AM                                                                     Lammons
                                                                                             (26139)
           2019-02-21 01:30        5B        Disposition Hearing                Vacated        Gregory M
                      PM                     NOTE: HBND                                        Lammons
                                                                                               (26139)
           2019-01-31 08:15        5B        First Appearance                   Hearing Held Gregory M
                      AM                                                                     Lammons
                                                                                             (26139)
           2019-01-23 01:30        1A        Hearing on Advisement              Hearing Held Kandace Bradner
                      PM                     NOTE: IN CUSTODY/VRA                            Majoros
                                                                                             (41099)


           Other Case Activities
           Date          Code        Details/Notes
           2019-03-14 CLDM           Case Closed-case Dismissed
           2019-03-14 MINC           Minute Order (print)
                                     Lammons/miller Digital Recording 905
                                     Comes For Stat
                                     Aty Jeff Schwartz Appears For Def - Who Is In Federal Custody; Dda
                                     Amanda
                                     Duhon
                                     Court Grants Peoples Motion To Dismiss
                                     Case Closed /amm
           2019-03-14 MROV           Mandatory Protection Ord Vacat
           2019-03-12 MOTN           Motion
                                     PPL1/ The People Of The State Of Colorado,
                                     Motion To Dismiss Case 7f58bf58e8658




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           2019-03-12 PORD           Proposed Order
                                     PPL1/ The People Of The State Of Colorado,
                                     Order To Dismiss Case 7f58bf58e8658
           2019-03-04 FOTH           Filing Other
                                     PPL1/ The People Of The State Of Colorado,
                                     Victim Impact Statement 754ef3da472df
           2019-02-21 MINC           Minute Order (print)
                                     Lammons/miller Digital Recording 139
                                     Comes For Disp/hbnd
                                     Aty Jeff Schwartz Appears For Def Who Is Not Present; Dda Amanda
                                     Duhon
                                     Atd Addresses Court And Advises Def Is In Federal Custody
                                     Dda Request To Set Court Date After March 6 - Def To Be Indicted Around
                                     That
                                     Time
                                     Matter Is Set For Stat On March 14 2019 At 900am /amm
           2019-02-04 ENTR           Entry Of Appearance
                                     DEF1/ Luton, Leonard L
                                     Entry Of Appearance 97a24968c47d8
           2019-01-31 MINC           Minute Order (print)
                                     Lammons/miller Digital Recording 827
                                     Comes For Fapp
                                     Def Appears In Custody; Dda Amanda Duhon
                                     Court Advises Def Of Charges And Inquires About Representation
                                     Def Request Public Defender
                                     Without Objection Court Appoints Pd - There Is A Conflict, Adc To Be
                                     Appointed
                                     Recalled 859
                                     Aty Jeff Schwartz Appears And Accepts Appointment
                                     Matter Is Set For Disp/hbnd On February 21 2019 At 130pm
                                     Def Waives 35 Day Prel /amm
           2019-01-31 MOTN           Motion
                                     DEF1/ Luton, Leonard L
                                     Motion For Appointment Of Counsel Fcbd3129a93c7
           2019-01-31 ORDR           Order
                                     Order Re: Adc
           2019-01-28 FCMP           Felony Complaint Filed
                                     PPL1/ The People Of The State Of Colorado,
                                     Complaint And Information D5fb19b49b5c3
           2019-01-28 FOTH           Filing Other
                                     PPL1/ The People Of The State Of Colorado,
                                     Defendant Information D5fb19b49b5c3
           2019-01-28 NOTC           Notice Filed
                                     PPL1/ The People Of The State Of Colorado,
                                     Notice Regarding Discoverable Material 9736b961b7cad
           2019-01-23 ASWA           Affi In Suppt-warrantless Arr
                                     PPL1/ The People Of The State Of Colorado,
                                     Affidavit In Support Of Warrantless Arrest ***sealed*** 01 23 19 Affidavit
                                     Sealed Per Magistrate Majoros
           2019-01-23 FOTH           Filing Other
                                     IMP1/ Non-party,
                                     Bond Application
           2019-01-23 MINC           Minute Order (print)
                                     Dig Rec: 2:18pm
                                     Judge: Majoros Dda: Little Pd: Conflict Adc: J Schwartz For Bond Purposes
                                     Only
                                     Def Advised Via Video, Def Given Copy Of Protection Order At Lcdc
                                     Bond Amt: $450,000 Cash/surety
                                     Conditions: Std Cond, Intsv Pt Supv, Remain Law Abiding, May Not Leave



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                                      State
                                      Nco With Vic, Remain 100 Yards From Vic And Vic Residence
                                      Returnable: 01 31 19 815am Ctrm 5b
                                      Def Remanded /srp
                                      ***affidavit Sealed*** /srp
           2019-01-23 MROG            Mandatory Protection Ord Grntd; Expiration Date: 2021-01-23
                                      DEF1/ Luton, Leonard L
                                      VIC1/ Olson, Sandra
                                      MROG
                                      Shall not harrass, injure, molest, intimidate, threaten, retaliate against or
                                      tamper with any witness to or victim of the acts you are charged with
                                      committing
                                      Shall refrain from contacting or directly or indirectly communicating with
                                      the victim(s)
                                      It Is Further Ordered Remain 100 Yrds From Vic And Vics Residence At All
                                      Tim
                                      Es Order A Cond Of Bond
           2019-01-23 ORDR            Order
                                      Ruling: Probable Cause Found, Document Title: Order: Affidavit In Support
                                      Of
                                      Warrantless Arrest
           2019-01-23 ORDR            Order
                                      Signed Mro
           2019-01-23 RSPO            Return Of Service Protect Ordr; Expiration Date: 2021-01-23


           Judgments


           No Judgments Information


           Bonds


           Bond Status Date:                  Bond Status: Bond Vacated
           2019-03-14
           Set Date: 2019-01-23               Set Amount: 450000.00               Set Type: Cash or Surety
           Adjusted Date:                     Adjusted Amount: 0.00
           Post Date:                         Post Amount: 0.00                   Post Type:
           Condition(s): STD COND INTSV PT SUPV REMAIN LAW ABIDNG MAY NOT LEAVE STATE
           COMPLY W NCO


           Financial Summary


           No Financial Information




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